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                                                   Page 1                                                     Page 3
 1       IN THE UNITED STATES DISTRICT COURT             1 APPEARANCES: (all appearing virtually)
           NORTHERN DISTRICT OF ILLINOIS                 2       Mr. Michael Kurtz
 2             EASTERN DIVISION                                  Kurtz & Augenlicht
 3   SEC,                  )                             3       123 West Madison Street
                       )                                         Suite 700
 4           Plaintiff, )                                4       Chicago, Illinois 60602
                       )                                         312.265.0106
 5     vs.               )No. 18-cv-5587                 5       mkurtz@kalawchicago.com
                       )                                          on behalf of 1839 Fund I, LLC.
 6   EQUITYBUILD, INC., et al., )                        6
                       )                                 7   Also Present: (all appearing virtually)
 7           Defendants. )                               8       Mr. Robert Jennings
 8
                                                         9
 9
                                                        10
10          The virtual deposition of CECILIA WOLFF,
                                                        11
11   taken pursuant to subpoena in accordance with the
                                                        12
12   Federal Rules of Civil Procedure of the United
13   States District Courts pertaining to the taking of 13
14   depositions, taken before MARYBETH ROESSLER, CSR,14
15   RPR, CSR License No. 084-002864, a notary public   15
16   within and for the County of Will and State of     16
17   Illinois, taken on Wednesday, October 27, 2021,    17
18   commencing at about the hour of 3:30 p.m.          18
19                                                      19
20                                                      20
21                                                      21
22                                                      22
23                                                      23
24                                                      24
                                                   Page 2                                                     Page 4
 1 APPEARANCES: (all appearing virtually)                   1               INDEX
 2      Ms. Alyssa A. Qualls
        U.S. Securities and Exchange                        2
 3      Commission                                               WITNESS                      PAGE
        175 West Jackson Boulevard
 4      Suite 1450
                                                            3
        Chicago, Illinois 60604                                  CECILIA WOLFF
 5      312.886.2542                                        4
        quallsa@sec.gov
 6        on behalf of U.S. Securities &                           Examination
          Exchange Commission;                              5        By Mr. Connor             5
 7
        Ms. Jodi Rosen Wine
                                                            6      Examination
 8      Rachlis Duff & Peel, LLC                                     By Ms. Qualls            36
        542 South Dearborn                                  7
 9      Suite 900
        Chicago, Illinois 60605                                    Examination
10      312.275.5108                                        8        By Ms. Wine              41
        jwine@rdaplaw.com
11        on behalf of Kevin B. Duff, Federal
                                                            9      Further Examination
          Equity Receiver for the Estate of                          By Mr. Connor            55
12        EquityBuild, Inc., etc.;                          10
13      Mr. Kevin Connor
        Dykema                                              11   WOLFF EXHIBITS                    PAGE
14      10 South Wacker Drive                               12   No. 1                   25
        Suite 2300
15      Chicago, Illinois 60606
                                                            13   No. 2                   26
        312.627.8322                                        14   No. 3                   28
16      kconnor@dykema.com                                  15   No. 4                   42
         on behalf of BC57;
17                                                          16   No. 5                   49
        Mr. Max A. Stein                                    17   No. 6                   51
18      Boodell & Domanskis
        1 North Franklin
                                                            18
19      Suite 1200                                          19
        Chicago, Illinois 60606                             20
20      312.938.4070
        mstein@boodlaw.com                                  21
21        on behalf of certain investors;                   22
22
23
                                                            23
24                                                          24

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 1                 (Driver's licene shown.)                 1   and I'm happy to ask it again or in a way that
 2       MR. CONNOR: Court reporter, please swear in        2   makes sense to you.
 3   the witness.                                           3          And finally, if you need to take a break
 4                (Witness virtually duly sworn.)           4   for any reason, to get a glass of water or if you
 5                 CECILIA WOLFF,                           5   need to make a phone call, we're happy to let you
 6   called as a witness herein, having been virtually      6   do that. I only ask that if there is a question
 7   first duly sworn, was examined and testified as        7   pending before you, that you answer the question
 8   follows:                                               8   and then we'll give you a break for as long as you
 9                  EXAMINATION                             9   need.
10       By Mr. Connor:                                    10          Do you have any questions about any of
11       Q Well, good afternoon to you Ms. Wolff.          11   that?
12   Thank you for sticking with us through those          12       A No, I don't.
13   technical difficulties. I'm glad we were able to      13       Q Okay. Great. Your screen is frozen
14   get everything worked out.                            14   again. I don't know, do we want to address that
15           My name is Kevin Connor. I'm going to         15   now or see if it resets itself like it did last
16   be leading this deposition today. I represent one     16   time?
17   of the institutional investors in this case, BC57.    17       A Sometimes you're screen looks frozen
18           There are some other attorneys on this        18   too, so I think it just goes in and out kind of.
19   call, some of which already introduced themselves     19       Q All right. I guess we'll just get
20   to you. They may want to ask you questions            20   started and we'll see. Hopefully -- we're not
21   themselves, that's their decision, but I'll be        21   going to need the screen for a few minutes yet, so
22   questioning you first.                                22   hopefully we can get this problem worked out before
23           My first question to you is have you          23   we need it.
24   ever been deposed before?                             24       A Okay.
                                                  Page 6                                                        Page 8
 1       A No, I haven't.                                   1        Q First, I'd like you to just tell me a
 2       Q Okay. Well, then I'd like to just go             2   little bit about yourself.
 3   over a few basic ground rules to make sure we can      3             Do you have any post-high school
 4   do this as smoothly as possible. One of the people     4   education?
 5   on your screen, Marybeth, is a court reporter.         5        A Yes.
 6   She's going to be taking down everything that we       6        Q Could you tell me what you did after
 7   say to each other.                                     7   high school?
 8           To ensure we have a nice, clear record         8        A I have a degree. I've got a degree in
 9   and that we make Marybeth's life easier, I'm going     9   public administration.
10   to ask that you please do your best to make sure      10        Q Public administration. From what
11   that I'm done asking my question before you start     11   school did you --
12   to answer it, and I'll do my best to make sure that   12        A A two year -- I'm sorry.
13   I let you finish answering before I start again.      13        Q No, excuse me. Please finish what you
14   This way we don't have two people talking at the      14   were saying.
15   same time.                                            15        A A four-year degree in public
16           On a related note, we do need everything      16   administration.
17   to get down on the record, so please make sure all    17        Q From what school did you get that
18   of your answers are clear and verbal. Say yes or      18   degree?
19   no. Don't shake or nod your head. That's not          19        A University of San Francisco.
20   going to come through in the transcript.              20        Q University of San Francisco.
21           Third is if you answer a question, I'm        21             And in what year did you get that
22   going to assume that you understood it, but please    22   degree?
23   know that if you don't understand the question or     23        A 2007.
24   you'd like me to clarify it, please let me know,      24        Q 2007. Okay.
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 1          Are you currently employed?                       1   his name was Courtney, but I don't know that -- I
 2      A     No. I am retired.                               2   think he left the company. He was out of Wyoming
 3      Q     Oh, okay.                                       3   that I remember.
 4          What was your last employment before              4       Q Okay. Did you ever speak to anyone
 5   your retirement?                                         5   named Shaun that you recall?
 6      A I was with the California State                     6       A Shaun Cohen, yes. He called me.
 7   Department of Healthcare Services.                       7       Q Do you ever -- I'm sorry, please finish.
 8      Q Okay. And can you give me a basic                   8       A I think the person that I spoke to,
 9   overview of what your job was?                           9   Courtney, came to call me and so he did call me. I
10      A Basically I processed applications for             10   remember speaking to him.
11   providers for the Medicare program.                     11       Q Okay. And can you give me a basic
12      Q Okay. Thank you.                                   12   overview, if you recall, of the nature of your
13      A You're welcome.                                    13   conversation with Shaun?
14      Q I'd like to ask you now about your                 14       A He was explaining to me that investing
15   experience with EquityBuild.                            15   in real estate was very -- a good idea and was
16          Can you tell me how you first became             16   profitable. You know, explaining that I should
17   involved with EquityBuild?                              17   come invest with the company.
18      A Through emails at the very beginning and           18       Q Got it. And was that the only time that
19   then followed by a phone call.                          19   you spoke to him? Did you have more than one
20      Q Okay. And when you say through emails,             20   conversation?
21   did they send you an email first or did you email       21       A That I recall it was the only time I
22   them first?                                             22   spoke to him.
23      A They sent email that I remember.                   23       Q Okay. And do you recall when this
24      Q Okay. So was it like a marketing email?            24   happened, when your -- let me clarify that.
                                                   Page 10                                                   Page 12
 1   It wasn't an email that you signed up to get, it         1            Do you recall when you first contacted
 2   was just one that came into your inbox?                  2   EquityBuild?
 3       A Correct. Yes, it was like marketing                3       A I think it was around 2013 that I've
 4   email.                                                   4   seen emails that I started, 2013.
 5       Q Got it. Okay.                                      5       Q Got it. And do you recall when you
 6          And how long did you email with them or           6   first invested with EquityBuild?
 7   how many emails do you recall sending at your best       7       A I think it was the same year, 2013.
 8   guess before you spoke to them on the phone?             8       Q Okay.
 9       A It was maybe about ten or so.                      9       A I'm pretty sure, I think.
10       Q Okay. And do you remember over what               10       Q Okay. Did you invest in EquityBuild
11   period of time that happened? Was it one week, one      11   with anyone else?
12   month, two months?                                      12       A No, just myself.
13       A Maybe about between four and five                 13       Q Okay. Have you ever made any -- before
14   months.                                                 14   you invested with EquityBuild, had you ever made
15       Q Okay. And then you said it moved to               15   any other loans like this, any real estate
16   phone calls.                                            16   investments?
17          Did you call them or did they call you?          17       A Not at all, no. That was the first
18       A I cannot recall if I did call.                    18   time.
19       Q Okay.                                             19       Q Okay. Before you agreed to invest with
20       A I don't remember.                                 20   EquityBuild, did you do any kind of -- other than
21       Q Okay. That's fine.                                21   speaking with Shaun Cohen and Courtney, did you
22          Do you remember with whom you spoke at           22   research them on the internet or anything like
23   EquityBuild?                                            23   that?
24       A At first it was someone that I only --            24       A As a matter of fact, I did. I never
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 1   found any derogatory information on the internet at    1   don't really recall.
 2   all, which that's why I felt comfortable investing     2       Q That's fine. If you don't know, that's
 3   at that time.                                          3   perfectly fine. Okay.
 4       Q Okay. Thank you.                                 4            So this incident with the Kilbourn loan,
 5       A You're welcome.                                  5   was this before you had invested in the East End
 6       Q Okay. So do you recall -- you have made          6   address or the Constance address?
 7   several investments with EquityBuild; is that          7       A No, it was after.
 8   correct?                                               8       Q Okay. Do you recall when you invested
 9       A Yes, that's correct.                             9   in the East End Avenue address?
10       Q Okay. Do you recall what your first             10       A I don't recall, but I -- it could be
11   investment was?                                       11   around '15, '16, 2015 or '16.
12       A The first investment was 50,000 towards         12       Q Okay. And how about the Constance
13   the Addison property. It was supposed to be a         13   address, do you recall that?
14   home.                                                 14       A The Constance was actually a buyout. I
15       Q Okay.                                           15   think it's -- let me see.
16       A Later that was sold. So I did                   16            No, actually what happened was I --
17   receive --                                            17   after I received the check, I closed my account
18       Q No, please go ahead.                            18   with, with Vanguard. I had an additional 15,000
19       A I did receive a check for the amount of         19   that I invested with them. Total was 65,000. And
20   my original investment, plus I think 14,000           20   when I sent the 15,000 to them, that's when they
21   additional dollars of interest. Then I got a call     21   did a buyout for South Constance.
22   from Matt, Matt McQuillen and he asked me if I        22       Q Okay. Can you explain to me what you
23   wanted to reinvest, that I remember, and I said       23   mean by a buyout?
24   okay, and that became the Kilbourn investment.        24       A I noticed on my paperwork, it said it's
                                                 Page 14                                                      Page 16
 1        Q I'm sorry, that became which                 1      called a buyout to purchase 6,299 units at one,
 2   investment?                                         2      28 percent ownership. I have the document right in
 3        A The address of investment was Kilbourn.      3      front of me. And that's what they called it,
 4        Q Kilbourn, okay.                              4      buyout.
 5        A Yes.                                         5          Q Got it. Do you remember who
 6        Q Okay. All right. And can you tell me a       6      specifically at EquityBuild contacted you about the
 7   little bit about that investment. For example, I    7      Constance loan?
 8   know you told me you invested in the Addison        8          A No, I don't remember.
 9   property and you received a check for all of your   9          Q Do you remember how, how you came to be
10   money back plus the interest.                      10      part of that loan? Did they send you any
11             How did things go with the Kilbourn      11      documentation, anything to sign?
12   investment.                                        12          A Actually, that's what I was wondering,
13        A It went very bad. That's when -- at         13      because I sent you the documents they sent me, and
14   first they sent me the payment for -- the interest 14      I don't remember seeing any more documents, so my
15   payments and then that stopped. They were having15         name was not even on that.
16   problems, and that's when I -- that's when         16          Q Okay. Yes. That's correct.
17   everything went bad, so I didn't receive all my    17          A As you noted, the documents I sent
18   interest and my original investment.               18      you -- all I received was the documentation from my
19        Q Got it. And do you remember around what 19          plan group, they said it was a buyout.
20   time you stopped receiving payments?               20          Q Okay. When you say your plan group, can
21        A I think it's about 2018.                    21      you explain to me what you mean by that?
22        Q Do you recall whether it was winter,        22          A iPlan is the company that has, that was
23   sprung, summer, fall.                              23      managing my self-directed IRA.
24        A Probably, I don't want to say which -- I    24          Q Got it. So all of this was done through
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 1   your IRA?                                               1   supposed to mature?
 2       A Correct. Not all of that, because I had           2       A Well, I remember that when they came --
 3   some cash investments too.                              3   when the notes came due, they always extended them
 4       Q Okay. Were your cash investments part             4   because for some reason, sometimes they would send
 5   of these same properties or do you remember to          5   the documentation to sign up for an extension on a
 6   which properties you directed the cash                  6   due date. It could be three months, six months.
 7   investments?                                            7   But every time when towards the end, they just --
 8       A The cash investments are for the -- one           8   since everything was going bad, I think, I didn't
 9   of them was for the company -- I mean the west --       9   get any documents. And I didn't get, didn't get --
10   East End property?                                     10   that's when the SEC took over.
11       Q Okay.                                            11       Q Yes. So when you say towards the end,
12       A There were other. Two East End                   12   how long were you invested in the Constance
13   properties that I had, and there was another one       13   property before things started to unravel for
14   that I sent -- oh, let me see. 7740 South Essex.       14   you?
15   And actually I send one for MLK Drive, but they        15       A Yeah, let me see. The purchase that I
16   didn't --                                              16   see here was done on 8/14/2015.
17               (Reporter interruption.)                   17       Q Okay. Okay. Thank you.
18       THE WITNESS: They didn't invest in that MLK        18       A You're welcome.
19   property, so they moved it to a different property.    19       Q Did you sign any document -- I think
20       By Mr. Connor:                                     20   forgive me if I asked you this already.
21       Q Okay. Ms. Wolff, is my screen frozen             21           Did you sign any documents when you made
22   for you?                                               22   the Constance investment?
23       A Yes, it is.                                      23       A No, I didn't. I don't -- like I said,
24       Q All right. Jeez, I don't know what I'm           24   all the documents I sent you, that's all I got
                                                  Page 18                                                       Page 20
 1   going to do here. I wanted to show her some             1   about that investment. I didn't receive any
 2   documents. I guess, let's see how far we get.           2   DocuSign document or anything like that.
 3            Ms. Wolff, speaking specifically now           3       Q Okay. And if I understood what you said
 4   about the Constance property, you're claiming an        4   earlier -- let me just check my notes for a moment.
 5   interest in the Constance property for the purposes     5           Constance was a buyout, so it sounds
 6   of this lawsuit; is that correct?                       6   like you didn't originally invest in Constance
 7       A That's correct.                                   7   yourself. You made a separate investment and then
 8       Q Okay. And that interest is through your           8   EquityBuild moved to that investment to Constance;
 9   investment with EquityBuild?                            9   is that fair to say?
10       A Can you repeat that, please?                     10       A That's -- I'm sorry. That's correct,
11       Q Yes. The interest that you're claiming,          11   that's what I said, yes.
12   you're claiming that interest through your             12       Q Okay.
13   investment with EquityBuild?                           13       A They moved it. I didn't have any say on
14       A Correct.                                         14   what's going to be invested in.
15       Q Okay. Can you tell me the basic terms            15       Q Got it. And it was a buyout of which
16   of your investment as you understand them? How         16   property?
17   much you invested, how much you expected to get        17       A With the 400 South Kilbourn.
18   back, how often you expected to get paid, that kind    18       Q Got it. And do you recall signing any
19   of thing?                                              19   documents with respect to 400 South Kilbourn when
20       A Whenever I invested, I was told I would          20   you made that investment?
21   get paid monthly interest at 12 percent most of the    21       A Once I received the documentation, I
22   time, yes.                                             22   don't remember. I'm sorry, I don't remember if I
23       Q Okay. And do you recall how long the             23   did.
24   loan was supposed to last; when the note was           24       Q No, that's quite all right.
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 1           Did you at any time for either South             1   note.
 2   Kilbourn or South Constance sign a mortgage?             2       Q And do you recall when that happened
 3       A No. Actually what I received from them             3   that you received that unsecured note?
 4   was the two documents that I -- that I sent you. I       4       A Let me see the date. They state here
 5   don't see my name. I don't see my signature              5   that first payment was due on 3/30/2018.
 6   anywhere.                                                6       Q Okay.
 7       Q Yes. Okay. Yes. And I did review                   7       A And I signed it 3/26/2018.
 8   those. Thank you for sending me.                         8       Q Okay.
 9           Do you have any -- aside from what you           9       A And that was also a rollover
10   sent me, do you have any memory of getting any          10   distribution.
11   documents like a mortgage, with relation                11       Q Okay. That was a rollover.
12   specifically to Kilbourn or Constance?                  12            And do you know what that was a rollover
13       A With Kilbourn, I got the wire transfer            13   from?
14   information, and I sent that in recently with all       14       A It was for the South -- 400 South
15   my documents.                                           15   Kilbourn.
16       Q Yes. Okay. Give me just a moment.                 16       Q Got it.
17           Am I still frozen on your screen,               17       A It was initial investment amount was
18   Ms. Wolff?                                              18   73,257.
19       A Yes.                                              19       Q Got it. Okay. Thank you for that.
20       Q Okay. Could you try -- stay on the                20            Now, if you wouldn't mind -- oh, wait.
21   phone with us, and see if -- well, Marybeth, you're     21   Now you're moving.
22   the expert in Zoom, if she stays on the phone, but      22       A And you're moving too.
23   reboots the meeting on her computer will that kick      23       Q Finally.
24   her off the phone?                                      24       A I think --
                                                   Page 22                                                      Page 24
 1       THE REPORTER: No, it will not.                       1        Q The Zoom God smiled upon us for once.
 2       By Mr. Connor:                                       2   Okay. Well, let's strike while we have the moment.
 3       Q Ms. Wolff, I'm sorry to have to make you           3            I'd like to share my screen with you
 4   do this again after we finally got -- made contact,      4   now. If you don't mind I'm going to show you some
 5   but if you could try restarting your Zoom on the         5   documents.
 6   computer. Stay on the phone with us, and see if          6        A Okay.
 7   you can restart your Zoom and maybe that will solve      7        Q And forgive me if I'm repeating myself.
 8   the freezing problem?                                    8   I just want to make sure we cover all this ground.
 9       A Okay. Can I clarify something?                     9   Okay.
10       Q Yes, please.                                      10            All right. Ms. Wolff, do you see the
11       A About the question on the Kilbourn                11   document before you labeled mortgage?
12   property.                                               12        A Yes, I can.
13       Q Yes.                                              13        Q Okay. Great.
14       A What I did receive after was an amended           14            And you'll see it reads this mortgage is
15   and restated unsecure promissory note that I            15   given on September 26, 2015. The mortgagor is
16   signed, that's what I -- and also I sent that           16   EquityBuild, Inc., and then it says --
17   originally with all my documents.                       17        A Right.
18       Q Okay. And when you -- I believe you --            18        Q -- a little further down the page, for
19   I don't want to misquote you.                           19   this purpose, borrower does hereby mortgage, grant
20           You said that was after something?              20   and convey to lender the following described
21       A After -- it used to -- what I recall is           21   property located in Cook County, Illinois, which
22   it used to be a secured note, but they made it          22   has the address of 7635 South East End, Chicago,
23   unsecure for some reason, and that's when they send     23   Illinois 60649.
24   an amendment and restated unsecured promissory          24            Ms. Wolff, is that address, 7635 South
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                                                 Page 25                                                     Page 27
 1   East End, one of the properties in which you           1      A Yes.
 2   invested with EquityBuild?                             2      Q -- look at all familiar to you?
 3       A One moment. I want to see my notes.              3      A Yes, it does.
 4       Q Sure.                                            4      Q Okay. And that is lender name Cecilia
 5       MR. CONNOR: Court Reporter, we're going to         5   Wolff, that's you?
 6   mark this as Exhibit 1.                                6      A That's me.
 7               (A document was marked Wolff               7      Q And $25,000. Do you recall is that the
 8                Exhibit No. 1 for                         8   amount you invested in the East End property?
 9                identification.)                          9      A That's correct.
10       THE WITNESS: I'm sorry?                           10      Q Okay. And is this your electronic
11       By Mr. Connor:                                    11   signature here under signature?
12       Q I was speaking to the Court Reporter.           12      A It is. It is. Yes, it is.
13   Please continue, Ms. Wolff.                           13      Q I'll scroll down here at the bottom,
14       A That's correct, that's the correct              14   you'll see text that says EquityBuild Finance, LLC,
15   address for that investment. I have the -- I have     15   as agent and trustee has been authorized by the
16   in front of me I have my wire transfer proof.         16   above listed lenders to receive the payoff in its
17       Q Thank you. Then if we scroll back up --         17   name and issue and execute a release of said
18   I'm sorry, go ahead.                                  18   mortgage, upon payment in full of any outstanding
19       A That was on September 29, 2015.                 19   balance.
20       Q Okay. And then if we were to scroll             20           Do you see where it says that?
21   back up the page a little bit, it says this           21      A Yes.
22   security instrument is given to the persons listed    22      Q Was this -- and this is -- because I
23   on Exhibit A to the mortgage, care of EquityBuild     23   want to keep things straight, this is for the East
24   Finance, LLC, whose address is 5068 West Plano        24   End property.
                                                 Page 26                                                     Page 28
 1   Parkway.                                               1           Do you recall was this text on this
 2          I would like to show you a second               2   document when you signed it?
 3   document now. Here we go.                              3       A Can you repeat that question again?
 4      A Okay.                                             4       Q Yes. The text that I just read to you
 5              (A document was marked Wolff                5   at the bottom of this page, EquityBuild Finance,
 6               Exhibit No. 2 for                          6   LLC, as agent and trustee has been authorized by
 7               identification.)                           7   the above listed lenders.
 8      By Mr. Connor:                                      8           Was that text on this document when you
 9      Q I want to make sure you can see it okay.          9   signed it?
10          Do you see a document now that starts          10       A If I recall, I think it was.
11   with lender name?                                     11       Q Okay. Thank you.
12      A No.                                              12           Do you recall whether you saw or signed
13      Q No?                                              13   a document with this same text as it relates to the
14      A No, the screen didn't move.                      14   Constance property?
15      Q The screen didn't move. All right.               15       A No, I don't recall that.
16   That's probably me not being good at Zoom. I'm        16       Q Okay. Thank you. I'll stop sharing my
17   going to stop sharing my screen for just a second     17   screen for just a moment. Give me just --
18   and reshare it.                                       18   all right. I'd like to show you one more document.
19      A Okay.                                            19       A Okay.
20      Q Sorry, still learning. Here we go.               20                (A document was marked Wolff
21          Okay. How about now?                           21                 Exhibit No. 3 for
22      A Yes, I see it.                                   22                 identification.)
23      Q You see a document that says lender              23       By Mr. Connor:
24   name, okay. Does this --                              24       Q Okay. Ms. Wolff, do you now see a
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                                                  Page 29                                                       Page 31
 1   document in front of you that says collateral           1           How did you receive those payments for
 2   agency and servicing agreement?                         2   that loan?
 3        A I do.                                            3       A The payments were sent directly to
 4        Q Does this look at all familiar to you?           4   iPlan, the iPlanGroup, the company that collected
 5   And I can scroll down, if you'd like. Let me know       5   -- serviced my IRA.
 6   if I'm going too fast.                                  6       Q Got it.
 7        A You can scroll down. I don't recall.             7       A And then they --
 8        Q You don't recall. Okay.                          8       Q Please continue. Sorry.
 9            Is this your electronic signature here         9       A I think they went directly into my
10   on page 23? Do you see that?                           10   account.
11        A Page 23, no, I don't see the page yet.          11       Q Got it. Do you know who specifically
12        Q Well, did you see when I scrolled down          12   sent the payments to your IRA?
13   on my screen?                                          13       A As far as I know, it was EquityBuild.
14        A Okay. Now I see it.                             14       Q Okay. And is there a difference in your
15        Q Yes.                                            15   mind between EquityBuild and EquityBuild Finance?
16        A Yes, that looks like my signature.              16       A No. I think it was the same company.
17        Q Okay. Does that help you remember               17       Q Okay. Ms. Wolff, do you know, for
18   whether you've seen this document?                     18   example, under the terms of the loan, if the loan
19        A Yes. I just -- I cannot see my name on          19   went into default, do you know how you would have
20   it, but I think I remember seeing this document,       20   been notified about that?
21   yes.                                                   21       A No, I wouldn't know.
22        Q Okay. Do you recall whether you saw or          22       Q Okay. Do you know what a prepayment is
23   signed a document like this with relation to the       23   within the context of your loan?
24   South Constance property?                              24       A Yes.
                                                  Page 30                                                       Page 32
 1       A No. When -- as a matter of fact, when             1      Q Okay. Did you know that the borrower
 2   you asked me about those documents, I saw that I --     2   could make prepayments under the loan?
 3   my signature was not anywhere on the two documents      3      A No, I didn't.
 4   that I sent you.                                        4      Q Okay. Do you know if the borrower
 5       Q Okay.                                             5   wanted to make a prepayment, how they would go
 6       A Although I never saw anything like                6   about doing that? Who -- excuse me. Let me strike
 7   that.                                                   7   that question.
 8       Q Okay. Thank you.                                  8          If the borrower were to make a
 9       A You're welcome.                                   9   prepayment under the loan, do you know how you
10       Q Ms. Wolff, what does the name                    10   would find out about that?
11   EquityBuild Finance mean to you?                       11      A If they let me know. I wouldn't know.
12       A I believe that was the other company,            12      Q When you say if they let you know, is
13   the investment company -- well, they had the           13   there someone in your mind whose responsibility it
14   investment company, but they also had a hard money     14   was to let you know?
15   lender company.                                        15      A The contact that I had with the -- the
16       Q Okay. Which of those was EquityBuild             16   person that was called the personal relationship
17   Finance?                                               17   manager.
18       A I think this one is EquityBuild                  18      Q The personal relationship manager at
19   Finance.                                               19   EquityBuild?
20       Q So I know that some of these investments         20      A Correct.
21   were sent through your IRA, and forgive me, I know     21      Q And do you recall his or her name?
22   we've been jumping back and forth between loans.       22      A David Geldart was the last one.
23   I'm talking specifically about the Constance loan      23      Q All right. I have just a few more
24   at this point.                                         24   questions for you.
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                                                      Page 33                                                     Page 35
 1           Do you understand what a release is in              1        Q Do you understand that EquityBuild
 2   the context of a mortgage?                                  2   accepted a payoff from someone to pay off the
 3       A A release?                                            3   amount of your loan?
 4       Q Yes.                                                  4        A No, I didn't.
 5       A I'm not too clear about that.                         5        Q All right. Do you understand that
 6       Q Okay. What do you understand would                    6   EquityBuild has released the mortgage relating to
 7   happen once your loan was paid in full with                 7   your loan?
 8   relation to the mortgage? I guess -- let me strike          8        A Which loan?
 9   that.                                                       9        Q Thank you for asking that. The
10           What happens to the mortgage when your             10   Constance loan.
11   loan is paid in full?                                      11        A No, I didn't know.
12       A You get -- you get the deed, the                     12        Q Okay. Well, thank you very much for
13   property deed.                                             13   your time, Ms. Wolff. Those are all the questions
14       Q Okay. And what happens with the loan at              14   that I have for you.
15   that point?                                                15            Some of the other attorneys here may
16       A They close -- it's closed down. You                  16   have questions as well. I'm going to stop sharing
17   don't owe any loan -- any money.                           17   my screen now. I didn't realize I've been sharing
18       Q So do you know if you were to make a                 18   it this whole time.
19   demand for payment under your loan, do you know how        19        A Okay.
20   you would do that? Who you would contact to do             20        Q So please stay with us. There may some
21   that?                                                      21   other questions from the other attorneys, but thank
22       A The loan company.                                    22   you very much.
23       Q And when you say the loan company, any               23        A You're welcome.
24   more specifically?                                         24
                                                      Page 34                                                     Page 36
 1      A      The bank.                                         1                  EXAMINATION
 2      Q      The bank, okay.                                   2      By Ms. Qualls:
 3      A      The bank, yeah. The lender, yes, any              3      Q Ms. Wolff, this is Alyssa Qualls. I
 4   lender.                                                     4   have some questions. I represent the Securities
 5      Q    Any lender.                                         5   and Exchange Commission.
 6          Do you know in this instance if you as               6          Can you hear me all right?
 7   the lender wanted to demand payment under your              7      A Yeah. I didn't hear that last part.
 8   loan, do you know who you'd contact?                        8      Q I represent the Securities and Exchange
 9      A The borrower.                                          9   Commission, and my name is Alyssa Qualls. I have a
10      Q The borrower.                                         10   few questions.
11          And in this case that is who?                       11      A Sure. Okay. Hi.
12      A EquityBuild.                                          12      Q Okay. Hi.
13      Q Okay. And do you know would you contact               13          So as I understand it from your
14   them directly or is there somebody who would act on        14   testimony -- well, let me -- let me just ask it.
15   your behalf to do that?                                    15          Did you authorize EquityBuild or
16      A I believe I contact them directly.                    16   EquityBuild Finance to release the mortgage on the
17      Q So you mentioned David Geldart. Would                 17   Constance loan?
18   that be someone you would contact?                         18      A No, I didn't know that was done.
19      A If I had questions, yes.                              19      Q Okay. But you never -- and you never
20      Q Okay. Thank you.                                      20   gave them permission, right?
21          Did you ever receive a notice from                  21      A No, never.
22   EquityBuild that someone wanted to pay off your            22      Q Did you understand that EquityBuild had
23   loan.                                                      23   the ability to release the mortgage without your
24      A No, I never did.                                      24   consent?
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                                                    Page 37                                                       Page 39
 1       A No, I didn't.                                       1   and would like -- it would have been helpful to
 2       Q How did you first learn that EquityBuild            2   have those funds available.
 3   was releasing the Constance mortgage?                     3       Q Uh-huh. Have you authorized EquityBuild
 4       A Actually, I didn't know. This is the                4   or EquityBuild Finance to release your mortgage on
 5   first time I hear about it.                               5   the East End property?
 6       Q Okay. And did you receive -- ever                   6       A No, I never did.
 7   receive any payment from EquityBuild or EquityBuild       7       Q All right. And did you understand that
 8   Finance in connection with the release of the             8   EquityBuild had the ability to release the East End
 9   Constance mortgage?                                       9   mortgage without your consent?
10       A No, I never did because they kept                  10       A No, actually, no.
11   paying -- making the interest payments, almost           11       Q And did you know that EquityBuild was
12   towards the end, they were going to my account with      12   releasing your mortgage on the East End property?
13   iPlanGroup.                                              13       A No, I didn't know that.
14       Q Okay. Would you have allowed your                  14       Q And did you receive any payment in
15   mortgage to be released, this is the Constance           15   connection with the release of your mortgage on the
16   mortgage, without your investment principal being        16   East End property?
17   returned?                                                17       A Do you mean the return of my original
18       A No, I would not.                                   18   investment?
19       Q And what was the amount of the Constance           19       Q Yes.
20   principal?                                               20       A No. I kept getting extensions and
21       A Actually, it was like I said, it was a             21   extensions. I never got my money back.
22   buyout. It was 6,299, I believe.                         22       Q And would you have allowed your mortgage
23       Q And was the mortgage that you got on the           23   to be released on the East End property without
24   Constance property an important part of your             24   your investment principal being returned?
                                                    Page 38                                                       Page 40
 1   investment decision or your decision to invest with       1       A No, I wouldn't.
 2   EquityBuild? I guess this is a little -- let me           2       Q And was the fact that the East End
 3   withdraw that, because the buyout it's a little           3   property had a mortgage, was that an important part
 4   confusing.                                                4   of your decision to invest?
 5            But when -- let me ask when you                  5       A Yes.
 6   initially invested with EquityBuild, was having a         6       Q Why was it?
 7   mortgage on your investment, on your loan an              7       A Because I was -- I was always told
 8   important part of your decision to invest?                8   always -- I was on the first lien basis, if
 9        A No. Actually I started with Addison                9   anything went wrong. They made it sound like it
10   property. I didn't know anything about, but when         10   was a good thing, that even if it defaulted, if the
11   they invested my money into the South Constance, I       11   loan defaulted, I wouldn't -- it wouldn't affect me
12   was never asked or I never approved. So that's why       12   because I was on the first lien basis.
13   I don't see any documents that really show that I        13       Q And what did you understand -- I'm
14   signed for that buyout or anything like that.            14   sorry.
15        Q Right. How much money did you and your            15          What did you understand a first lien
16   family lose by -- on the Constance investment?           16   basis to mean?
17        A So the property -- the buyout amount was          17       A That I would get my investment back in
18   the 6,299.                                               18   case anything went wrong with the mortgage or
19        Q And let's turn to the East End                    19   defaulted.
20   investment. That -- how much have you lost on that       20       Q Okay. Thank you. I don't have any
21   investment?                                              21   other questions.
22        A 25,000.                                           22       A You're welcome.
23        Q And how has that loss impacted you?               23
24        A As you can understand, now I'm retired            24
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                                                Page 41                                                      Page 43
 1                 EXAMINATION                             1   of $15,000?
 2       By Ms. Wine:                                      2       A Yes, I recall it.
 3       Q Ms. Wolff, hi again. My name is Jodi            3       Q And was that an additional investment
 4   Wine and I represent the receiver, Kevin Duff, in     4   you made after originally investing in the
 5   this matter.                                          5   400 South Kilbourn property?
 6            Are you still able to see the screen? I      6       A That's correct.
 7   cannot see you any more.                              7       Q And that investment was split between
 8       A Oh, yes. Yes, I'm able to see the               8   two properties, correct?
 9   screen.                                               9       A Correct.
10       Q Okay. Did you maybe turn your camera           10       Q And did you get an additional ownership
11   off?                                                 11   interest in the 400 South Kilbourn Avenue
12       A No, I didn't.                                  12   property?
13       Q Okay. I'd like to show you a document,         13       A Much -- I think it -- yes, I think I
14   which is part of the discovery responses you sent    14   did, but I'm not 100 percent sure.
15   in in this case.                                     15       Q Okay. Do you see a $8701 figure that's
16       A Okay.                                          16   circled and the word buyout is written next to
17       Q Let me know when you can see that on the       17   it?
18   screen?                                              18       A Yes. Yes.
19       A I see it on the screen.                        19       Q Okay. And do you see that's described
20       Q Okay. So we've been talking about the          20   as purchasing 8701 units?
21   investment in 7201 South Constance, and that was     21       A Correct.
22   made from your IRA, correct?                         22       Q And do you understand that to be the
23       A Correct.                                       23   Kilbourn property?
24       Q And this -- do you recognize this              24       A That's correct, yes.
                                                Page 42                                                      Page 44
 1   document that's up on the screen that I'm going to    1        Q Okay. And then you also -- with that
 2   mark as I believe Exhibit 4?                          2   same $15,000, did you purchase the interest in 7201
 3       MR. CONNOR: (Nodding head.)                       3   South Constance Avenue?
 4              (A document was marked Wolff               4        A Yes, that's the one.
 5               Exhibit No. 4 for                         5        Q That was the amount of $6299, correct?
 6               identification.)                          6        A Correct.
 7       THE WITNESS: Yes, I recognize that                7        Q And those two figures add to the $15,000
 8   document.                                             8   cash payment that you sent to EquityBuild; is that
 9       By Ms. Wine:                                      9   correct?
10       Q Okay. Does this relate to the loan made        10        A Correct.
11   through your traditional IRA?                        11        Q And do you see here where this
12       A Yes.                                           12   investment of 6299 was described as a purchase of
13       Q These are documents that you provided in       13   -- I'm sorry -- a purchase of .28 percent ownership
14   this case, correct?                                  14   in SECPN-368?
15       A Correct.                                       15        A Yes.
16       Q Okay. So, I'm going to go to page 21 of        16        Q Did you understand SECPN to mean secured
17   this document and this is part of a statement from   17   promissory note?
18   iPlanGroup, correct?                                 18        A No. I knew it was secured at one point,
19       A Correct.                                       19   but then it became -- it became unsecured for some
20       Q And that's your account for the dates          20   reason. They changed it later on.
21   July 1, 2015 through September 30, 2015.             21        Q Okay. You're talking now about the
22           Do you see that?                             22   investment in South Kilbourn, correct?
23       A Yes.                                           23        A Right. Correct.
24       Q And do you recall making an investment         24        Q Okay. I'm going to jump now to page 28
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                                                   Page 45                                                      Page 47
 1   of this document, and there is an email from Max         1   call David directly?
 2   Capistran at EquityBuild dated February 19, 2018.        2       A Yes, I see that.
 3           Do you see that?                                 3       Q Okay. And that's David Geldart to your
 4       A No, it didn't move. So I'm still on the            4   understanding?
 5   Constance buyout.                                        5       A I don't recall. It's been a while.
 6       Q Okay. I suspect your screen might be               6       Q Okay. You just had testified earlier
 7   frozen.                                                  7   that David Geldart was your relationship manager at
 8           Are others on the call able to see page          8   EquityBuild?
 9   28 of this document?                                     9       A He was, yes.
10       MR. CONNOR: Yes, I can.                             10       Q Okay. So I assumed when Max Capistran
11       MS. WINE: Okay.                                     11   said you could call David directly, that he was
12       MR. CONNOR: Jodi, maybe try unsharing your          12   referring to David Geldart, but I don't know that.
13   screen and resharing it. When I tried that earlier      13   I was just wondering if that was your understanding
14   with Ms. Wolff, that helped.                            14   as well?
15       MS WINE: That wasn't the problem. At that           15       A It was, yes.
16   time we couldn't see your share either. This is         16       Q Okay. Do you believe that you were
17   something on her end. I think she just has an           17   offered options?
18   unstable internet connection.                           18       A No, I don't believe that. Because as I
19       By Ms. Wine:                                        19   explained, I received -- what I did receive was the
20       Q Ms. Wolff, let me just ask you when               20   amended document, where they amended the note to
21   EquityBuild contacted you to tell you that they         21   become, you know, for what he said, that he was
22   were --                                                 22   going to be an unsecured note, and I would get that
23       A Oh, I see it now.                                 23   -- that interest went down from 12 to 8 percent.
24       Q Okay. Okay. So you see the                        24       Q And that related to the 400 South
                                                   Page 46                                                      Page 48
 1   February 19, 2018 email from Max Capistran to you;       1   Kilbourn property, correct?
 2   is that correct?                                         2       A That's correct, yes.
 3       A Yes, I see it.                                     3       Q And are you able now to see page 32 of
 4       Q And is this one of the documents you               4   this document? It's entitled rollover/distribution
 5   provided in this case?                                   5   authorization form?
 6       A I believe so.                                      6       A I don't see it right now.
 7       Q Okay. We're on page 28 of the same                 7       Q Okay. So your screen has not moved
 8   Exhibit 4 that I showed you earlier. Okay?               8   again?
 9       A Yes. Yes.                                          9       A No, it didn't move right now.
10       Q Okay. And do you see where                        10       Q Okay. I'm going to strike that. I'm
11   Mr. Capistran tells you that EquityBuild has            11   going to try one other document and we'll see if
12   brought the 400 South Kilbourn project to an end?       12   you can see it or not.
13       A Yes.                                              13       A Okay.
14       Q And then tells you we will send you back          14       Q Okay. Are you able to see a document
15   your 73,257 to the account on an amortized note in      15   that's March 26, 2018 email from John Allred?
16   monthly installments of 24 months at 8 percent          16       A No, I don't see it. I see the other,
17   APR?                                                    17   Max' email.
18       A Yes.                                              18           Okay. Now I see the rollover.
19       Q And is Mr. Capistran informing you that           19       Q Do you see an email from John Allred to
20   your secured loan would now be an unsecured             20   David Geldart and you copied?
21   promissory note?                                        21       A I see the -- I see the
22       A Yes. Yes.                                         22   rollover/distribution authorization form.
23       Q Do you see where he says if you would             23       Q Okay.
24   like to have a call to discuss these options, to        24       A I see the John Allred.
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                                                    Page 49                                                      Page 51
 1       Q Okay.                                               1   DocuSign envelope asking you to sign an extension
 2       A Yes, I see that.                                    2   for that loan at 7635 South East End?
 3       Q Your computer is just talking a minute              3       A For the extension, yes, but not for the
 4   to catch up.                                              4   release.
 5       A Yes.                                                5               (A document was marked Wolff
 6       Q I'm going to mark then this as                      6                Exhibit No. 6 for
 7   Exhibit No. 5.                                            7                identification.)
 8       A Okay.                                               8       By Ms. Wine:
 9              (A document was marked Wolff                   9       Q Correct. Do you see another document on
10               Exhibit No. 5 for                            10   your screen now that's a DocuSign email?
11               identification.)                             11       A I see a DocuSign envelope.
12       By Ms. Wine:                                         12       Q Dated May 8, 2018?
13       Q Do you recognize this email?                       13       A May 2018, correct, 8 May.
14       A I do, yes.                                         14       Q Right. And extension through
15       Q I'm going to scroll down, because the              15   October 1st of 2018?
16   messages are in reverse order.                           16       A Correct.
17           And the first message on March 26th at           17       Q Okay. And can you see the second
18   11:19 a.m., is this an email you sent to Dave            18   extension agreement that you were asked to sign on
19   Geldart on March 26th of 2018?                           19   the screen?
20       A So I don't see that I -- they sent me              20       A I'm looking at the email document from
21   that, a copy of that email.                              21   DocuSign envelope. Oh, now I see the second
22       Q Okay. I think your screen is not                   22   extension agreement.
23   keeping up with mine.                                    23       Q Okay.
24       A No, probably not.                                  24       A Dated March 1, 2018 to extend it to
                                                    Page 50                                                      Page 52
 1      Q Okay. Do you recall --                               1   October 1, 2018.
 2      A Okay, it's moving.                                   2       Q Did EquityBuild tell you that they
 3      Q Okay. Do you recall reaching out to                  3   wanted to extend the due date of the note and the
 4   Mr. Geldart on March 26th wondering about your            4   mortgage secured by 7635 South East End until
 5   investment on South East End because the due date         5   October 1st of 2018?
 6   had been extended to March 1, 2018?                       6       A That's what they -- yeah, that's what it
 7      A Yes, I see it. Yes. Yes.                             7   indi -- that's what is indicating on this
 8      Q Okay. And then do you recall being told              8   document.
 9   by Mr. Allred that that property was under a second       9       Q And they didn't tell you at that time
10   extension, projected to mature on October 1st of         10   that that note was no longer secured by that
11   2018?                                                    11   mortgage because it had been released?
12      A October, I only see March, so I'm not               12       A No. I was never notified of that.
13   sure. Is there another email?                            13       Q And that wasn't your understanding that
14      Q Okay. I'm going to try to share this,               14   that had happened, correct?
15   and if it doesn't work, I'm going to rest.               15       A Correct.
16      A Okay. I see it now.                                 16       Q And you never authorized such a
17      Q Okay. Can you tell me what you see on               17   release?
18   your screen?                                             18       A No, I never did. I didn't know until
19      A That the extension currently projected              19   now.
20   to mature on 10/1/18 for 7635 South East End.            20       Q Okay. And I'm not going to try to use a
21      Q Okay. And did you know at that time                 21   document, Ms. Wolff, but in these papers that you
22   that EquityBuild had already released that loan?         22   submitted in discovery you stated that you had
23      A No. I was never notified.                           23   received interest payments?
24      Q Okay. And did you in fact receive a                 24       A Interest payments, --
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                                                Page 53                                                      Page 55
 1       Q Do you recall that?                             1       A That's correct.
 2       A -- yes. Yes.                                    2       Q Okay. Did you receive any other money
 3       Q Okay. And you gave a dollar amount of           3   from EquityBuild related to the investment on 7201
 4   interest payments that were received?                 4   South Constance?
 5       A For which loan?                                 5       A No, that's all I received, what I stated
 6       Q Okay. You actually gave two different           6   on my document.
 7   packages, right? One that we were just looking at     7       Q Okay. I will tender the witness.
 8   which related to the IRA investments?                 8          Thank you, Ms. Wolff.
 9       A Correct.                                        9       A You're welcome.
10       Q And the second package which related to        10       MR. CONNOR: Anything from you, Michael?
11   your cash loan?                                      11       MR. KURTZ: I'm good. Thanks.
12       A Correct.                                       12       MR. CONNOR: Nothing from Max.
13       Q Correct?                                       13              FURTHER EXAMINATION
14       A Yes.                                           14       By Mr. Connor:
15       Q And your statement says to the best of         15       Q I have just a few follow-up questions,
16   my knowledge, the total amounts paid to me by        16   Ms. Wolff. Thank you so much for your time. I'm
17   EquityBuild for the cash loans totaled 15,722.35.    17   going to -- okay. I'm going to share my screen one
18          Do you recall that?                           18   more time. Let me know when you can see the
19       A Yes. Yes, I recall that.                       19   document.
20       Q Okay. And my question is is that amount        20          The document that I'm showing you is the
21   what you received for the three loans totaling       21   same document that I showed you earlier. I believe
22   $60,000?                                             22   it was marked Exhibit 2, and it has the text at the
23       A Yes.                                           23   bottom. It has your signature and the text at the
24       Q So that's not the amount that you              24   bottom that says EquityBuild as agent and trustee
                                                Page 54                                                      Page 56
 1   received on 7635 South East End only; is that         1   has been authorized by the list of lenders.
 2   correct?                                              2           Do you see that --
 3      A That's correct.                                  3       A Yes.
 4      Q Do you know the amount that you received         4       Q -- in front of you?
 5   back on 7635 South East End?                          5       A I see that, yes.
 6      A Actually I don't. I don't have -- I              6       Q We discussed it relative to the
 7   don't have a separate total.                          7   Constance loan, and you mentioned that you did not
 8      Q Okay. And other than interest payments,          8   sign anything like this in relation to the
 9   did you receive any other money back to your cash     9   Constance loan.
10   account from EquityBuild?                            10           Do you recall signing a document like
11      A No. Only what I stated on my                    11   this with relation to the Kilbourn loan?
12   document.                                            12       A I don't recall.
13      Q Did you receive any other types of              13       Q Okay. And then finally I'll share -- I
14   income other than the interest you --                14   pulled up the servicing agreement you looked at
15      A No.                                             15   earlier. This was Exhibit 3, I believe.
16      Q -- stated?                                      16           Do you see that in front of you?
17      A No, I didn't receive any other type of          17       A Yes, I see it.
18   income.                                              18       Q This is the one we discussed that you
19      Q Okay. And is the same true of the               19   signed with relation to the East End loan. We
20   amounts you stated for the IRA, that the total       20   discussed it with respect to the Constance loan.
21   amounts you received back were for all of your       21           Same question, do you recall signing a
22   investments and not just the investment in           22   document -- reviewing or signing a document like
23   7201 South Kilbourn -- I'm sorry -- South            23   this with relation to the Kilbourn loan?
24   Constance?                                           24       A No, I don't recall.
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                                                  Page 57                                                     Page 59
 1        Q Okay. Thank you very much. Nothing               1 STATE OF ILLINOIS )
 2   else from me, Ms. Wolff.                                                )SS:
 3           Does anyone else have any questions? It         2 COUNTY OF W I L L )
 4   looks like no.                                          3        I, MARYBETH ROESSLER, a notary public
 5           All right. Ms. Wolff, that's it for us.         4 within and for the County of Will and State of
 6   Thank you so much for your time. At this time I'm       5 Illinois, do hereby certify that CECILIA WOLFF,
 7   going to ask you whether you'd like to waive or         6 virtually appeared before me on October 27, 2021,
 8   reserve your signature.                                 7 as a witness in a cause now pending and
 9           What that means is you have the right to        8 undetermined in the United States District Court,
                                                             9 Northern District of Illinois, Eastern Division,
10   review the transcript of your deposition today, and
                                                            10 wherein SEC, is Plaintiff and EquityBuild, Inc.,
11   to let us know if you think there are any errors
                                                            11 et al., are Defendants, No. 18-cv-5587.
12   with what you said.
                                                            12        I further certify that the said CECILIA
13           You can't go back and change your
                                                            13 WOLFF by me virtually first duly sworn to testify
14   testimony, but you have the right to review it and
                                                            14 to the truth, the whole truth and nothing but the
15   make sure that it accurately reflects what you         15 truth in the cause aforesaid before the taking of
16   said.                                                  16 her deposition; that the testimony given was
17           If you would like to do that, you              17 stenographically recorded in the presence of said
18   reserve your signature. Otherwise, if you just         18 witness by me, and afterwards reduced to
19   want to be done and not look at it and not review      19 typewriting, and that the foregoing is a true and
20   it, you can waive your signature. It's entirely up     20 correct transcript of said testimony.
21   to you.                                                21        I further certify that there were
22        A Would that change the outcome of the            22 virtually present at the taking of this deposition
23   proceeding?                                            23 the aforementioned counsel.
24        Q Well, it's just an opportunity for you,         24        I further certify that I am not counsel
                                                  Page 58                                                     Page 60
 1   if you want to take it, to make sure that what          1   for nor in any way related to any of the parties to
 2   you -- what is written down in the transcript is        2   this suit, nor am I in any way interested in the
 3   accurate to what you said. So, you know, your           3   outcome thereof.
                                                             4         IN TESTIMONY WHEREOF, I have hereunto set
 4   testimony is your testimony. It's -- and the
                                                             5   my hand and seal this 8th day of November, 2021.
 5   transcript is what goes into the record.                6
 6            So if you'd like to review it to make          7
 7   sure that it's accurate, you can do that. If you        8
 8   don't feel the need to review it, you can waive                         _________________________
 9   your signature.                                         9               NOTARY PUBLIC
10       A Okay. I could waive that.                                          WILL COUNTY, ILLINOIS
11       Q Okay.                                            10                CSR NO. 084-002864
                                                                              CSR Expires: May 31, 2023
12       A Because what I said is what I know that
                                                            11
13   has happened.                                          12
14       Q Okay. Certainly. Thank you.                      13
15            All right. Well, that's all we need           14
16   from you then. Thank you again for your time and       15
17   your patience as we got through those technical        16
18   difficulties. We all appreciate it.                    17
19       A You're welcome. Thank you very much.             18
                                                            19
20       Q Thank you. Have a good afternoon.
                                                            20
21       A Thank you. You too.                              21
22                                                          22
23             DEPOSITION CONCLUDED                         23
24                                                          24
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